Case 1:23-cv-00848-ADA-CDB Document 10-9 Filed 07/13/23 Page 1 of 10




                       EXHIBIT F
Case 1:23-cv-00848-ADA-CDB Document 10-9 Filed 07/13/23 Page 2 of 10
Case 1:23-cv-00848-ADA-CDB Document 10-9 Filed 07/13/23 Page 3 of 10
Case 1:23-cv-00848-ADA-CDB Document 10-9 Filed 07/13/23 Page 4 of 10
Case 1:23-cv-00848-ADA-CDB Document 10-9 Filed 07/13/23 Page 5 of 10
Case 1:23-cv-00848-ADA-CDB Document 10-9 Filed 07/13/23 Page 6 of 10
Case 1:23-cv-00848-ADA-CDB Document 10-9 Filed 07/13/23 Page 7 of 10
Case 1:23-cv-00848-ADA-CDB Document 10-9 Filed 07/13/23 Page 8 of 10
Case 1:23-cv-00848-ADA-CDB Document 10-9 Filed 07/13/23 Page 9 of 10
Case 1:23-cv-00848-ADA-CDB Document 10-9 Filed 07/13/23 Page 10 of 10
